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                       EXHIBIT 1
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                                                L,r.wrnno Dnnr-          & PnocroR
                                                     CERTIFIED PUBLIC ACCOUNTANTS
                                                     20I SOUTH ZET"I'I,RO\VER AVENUB
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TIFFANY D. JENKINS, CPA, CGMA
                                                                                                       PUBLIC ACCOUNTANTS
RICHARD N. DEAL II, CPA




               To the Management of L.G. Herndon Jr. Farms, Inc. and
                 The Hall Law Group, P.C.

               Executive Summary and Findings          -   San   Miguel Produce, Inc. v. L.G. Herndon Jr. Farms, Inc.


               Our firm, Lanier, Deal & Proctor, CPAs, was engaged by the Hall Law Group, P.C. and L.G.
               Herndon Jr. Farms, Inc. to conduct a preliminary review of the following documents related to San
               Miguel Produce, Inc. v. L.G. Herndon Jr. Farms, Inc. Richard N. Deal, CPA, CGMA (see
               Appendix A) was the partner responsible for this engagement. The documents reviewed include:

                          1.   Grower-Shipper Agreement dated September 12,2014.

                          2.   Production schedules for the 2014-2016 seasons.

                          3.   A compilation of orders and deliveries to Robo Produce, LLC, representing product
                               from L.G. Herndon Jr. Farms, Inc. and San Miguel Produce, Inc., prepared by the
                               Hall Law Group, P.C. We sampled the compilation to compare shipping dates and
                               pounds to the amounts reported.

                          4.   A diary of acres planted by L.G. Herndon Jr. Farms,Inc. provided by Jason Herndon.

                          5. A compilation of crops available from each planting by L.G. Herndon Jr. Farms,
                               Inc. prepared by the Hall Law Group, P.C. and verifred with Jason Herndon.

                          6.   The profit sharing reports for the months of March, 201 5 through January      ,20t6 for
                               Robo Produce, LLC,

               Our analysis is based on the following assumptions:

                          1.    All deliveries of product were as a result of a specific order from San Miguel   Produce,
                                Inc. for delivery to the Robo Produce, LLC packing facility.

                          2.    The failure to order product from L.G. Herndon Jr. Farms, Inc. fiom October 2014 to
                                January 2015 season was due to San Miguel Produce Inc.'s's failure to have the Robo
                                Produce, LLC packing plant operational.

              We compared the actual deliveries against the most relevant production schedule for each
              variety of produce. We compared the available crops at L,G. Herndon Jr. Farms, Inc. for
              each month against the production schedule and the actual orders placed by San Miguel
              Produce, Inc.

              Our primary observation is that the production schedules are highly inconsistent with the
              orders by San Miguel Produce, Inc. The production schedules were changed multiple times.
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These changes were often made within a timeframe that would not allow L.G. Herndon Jr.
Farms, Inc. to grow and harvest the requested amount of produce. Production schedules
often reflected crops that were either not ordered or ordered in very different quantities and
inaccurately predicted the orders ultimately to be made by San Miguel Produce, Inc.
Computing the difference between the quantities as specified in the production schedules
and the amounts shipped by L.G Herndon Jr. Farms, Inc. is not alone a sufficient measure
of L.G. Herndon Jr. Farm's compliance with the Grower-Shipper Agreement. The actual
amounts ordered must be considered, as well as the pounds of produce that L.G. Herndon
Jr. Farms, Inc. had available based on the production schedule that were not ordered.

Our findings are as follows:

    1.   On multiple occasions San Miguel Produce, Inc. shipped produce to Robo Produce,
         LLC in excess of the amounts noted on the production schedules.

   2. L.G. Herndon Jr. Farms, Inc. had available        produce as required under the
         production schedule that was not ordered by San Miguel Produce, Inc.

   3.    Production during the summer months of 2015 by L.G. Herndon Jr. Farms, Inc. was
         limited.

   4.    The total pounds delivered by L.G. Herndon Jr. Farms, Inc. for the period October 2014
         through January 2016 totaled3,110,669 pounds of produce.

   5. The total pounds delivered     by San Miguel Produce, Inc. were 1,638,476 pounds.

   6.    The total pounds delivered by San Miguel Produce, Inc. in excess of the
         amounts specified in the production schedule werc 620,684 pounds.

   7.    The total of available crops grown by L.G. Herndon Jr. Farms, Inc. pursuant
         to the production schedules which was not ordered were 3,744,209 pounds.

We are currently in the process of determining the following:

    1.   The accrued interest on the outstanding receivables due L.G. Herndon Jr. Farms, Inc
         The invoices are dated December 18, 2015 through February 1,2016.

    2,   The average revenue per pound generated by sales for product sold through the Robo
         Produce, LLC facility.

    3. The average cost per pound for product          shipped from California     by San Miguel
         Produce, Inc.

    4.   The average cost per pound for product delivered by L.G. Herndon Jr. Farms, Inc.

    5.   The profit, if any, arising out of the sale of product delivered by L.G. Herndon Jr. Farms,
         Inc.


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August 31,2017
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                                                                                 APPENDIX A




Biography - Richard Deal. CPA" CGMA

Richard is a Magna Cum Laude graduate of Georgia Southern University. Richard joined the firm
as the partner in charge of accounting and auditing in January 2006. Prior to joining the firm,
Richard was a founding partner in the firm of Franklin, Mikell & Deal, LLP, which was established
in January 1999. Prior to starting this firm, Richard's professional career included four years with
the international accounting firm of Touche, Ross & Co. in their Jacksonville, Florida offtce, and
he served as Audit Manager with the firm of Dabbs, Hickman, Hill & Cannon, LLP from 1989 to
1998. Richard's responsibilities and areas of expertise include supervising and reviewing the
firm's audit, review, and compilation engagements, monitoring the firm's quality control practices,
and providing specialized accounting services. Richard is highly qualified in providing accounting
and auditing services to governments, nonprofit organizations, and various other corporate entities.
Richard also has experience in forensic accounting that includes the investigation of fraud and
embezzlement related to governments and other entities.

Richard is a mernber of the American Institute of Certifìed Public Accountants, Georgia Society
of Certified Public Accountants, Association of Certified Fraud Examiners, and Georgia
Government Finance Officers Association. Richard's community services include serving on the
board of directors of Fostering Bulloch and on the advisory board for the Adrian Peterson
Foundation. He has served as the president and treasurer of the Statesboro High School
Quarterback Club, treasurer for the Joseph's Home for Boys and the Exchange Club of Statesboro,
and as a director of the Statesboro/Bulloch County Chamber of Commerce. He has also served as
treasurer and secretary for the local camp of Gideons International, Inc., a Christian and
professional men's organization. He is a 1992 graduate of Leadership Bulloch, and a 2007
recipient of the Dean Day Smith Service to Mankind Award. Richard is active in his local church
and has served as a deacon, Sunday School teacher, and member of the board of trustees. He has
also served as Sunday School Director and Chairman of the deacons. Richard is a native of Bulloch
County and has practiced accounting in Statesboro for over twenty-eight years. Richard is married
to Lori Jones Deal, also a native of Bulloch County, and they have one son, Rick, who is also a
CPA for the firm.
